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Debtor:      Lakeisha Quajuan Williams                                                                                  Case number: 21-41222


                          United States Bankruptcy Court for the Western District of Missouri
                                                  Chapter 13 Plan
☐ Check if this is an amended plan and list below the Parts of the plan that have been changed:
Enter text
            Above median
            Below median

Part 1: Notices

  To Debtors:         This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                      indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules and judicial
                      rulings may not be confirmable.

                      In the following notice to creditors, you must check each box that applies.

  To Creditors:       Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                     You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                     attorney, you may wish to consult one.
                     If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file a timely written objection
                     to confirmation. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                     Bankruptcy Rule 3015 and LR Rule 3083-1(D) and (E). In addition, you must have a filed and allowed proof of claim in order to
                     be paid under any plan.
                      The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                      plan includes each of the following items. If an item is checked as “Not Included”, if both boxes are checked, or if neither
                      box is checked, the provision will be ineffective if set out later in the plan.


      1.1     A limit on the amount of a secured claim, set out in Part 3.2, which may result in a partial                      Included            Not Included
              payment or no payment at all to the secured creditor

      1.2     Avoidance of a judicial lien or a nonpossessory, nonpurchase-money security interest, set out in                  Included            Not Included
              Part 3.7
      1.3     Nonstandard provisions, set out in Part 7                                                                         Included            Not Included


Part 2: Plan Payments

 2.1    Debtor(s) will make regular payments to the trustee as follows:

            $ 575.00 per month
            [If debtor(s) will have a step payment: and $   Enter amount per month starting with the payment due in (month), (year)]          Insert additional
            lines if needed.

 2.2    Regular payments to the trustee will be made from future income in the following manner: Check all that apply.
          ☒ Debtor(s) will make payments pursuant to a payroll deduction order to the employer(s) and in the amount(s) listed below:

                  Debtor’s name           Monthly amount           Employer’s name               Street address                      City, state & zip
              Lakeisha Williams          $ 575.00               Gashland       Clinic       9411 N Oak Trfy               Kansas City, MO 64155
                                                                Physicians Inc
              Enter debtor name          $ Enter   amount       Enter      employer         Enter street address          Enter city, state & zip
                                                                name

        ☐ Debtor(s) will make payments directly to the trustee.
2.3    Additional payments.
             ☒ None. If “None” is checked, the rest of Part 2.3 need not be completed or reproduced.
                 Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source, amount, and date
                 of each additional payment.

             Enter text
                                                                                                                                                                  1
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Part 3: Treatment of Secured Claims

 3.1   Maintenance of payments and cure of default, if any.

☒ None. If “None” is checked, the rest of Part 3.1 need not be completed or reproduced.
        The current contractual installment payments on the secured claims listed below will be maintained, with any changes required by the
           applicable contract, and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or directly
           by the debtor, as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee on a
           pro rata basis, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a filed and allowed
           proof of claim control over any contrary amounts listed below as to the current installment payment and arrearage. Mortgage payments
           paid by the trustee will be paid pursuant to LR 3094-1. Vehicle loans may be paid as long term debts if they qualify as such pursuant to
           the terms of the contract. Any vehicle loan listed in this paragraph must be paid from the plan payments pursuant to LR 3070-1. Post-
           petition Homeowners Association (HOA) dues and pre-petition HOA arrearages shall be treated in Part 3.1.

           Creditor name             Collateral/ Street        Last 4         Post petition            Post-petition           Estimated          Arrearage interest
                                         address              digits of         monthly                 payment               pre-petition               rate
                                                             account #         payment               Paid         Paid         arrearage
                                                                                                   through      directly
                                                                                                     plan
        Enter creditor                                                                                                       $
                                     Enter address          Acct #            $   Mo. Pmt                                    Arrearage          0%
        name
        Enter creditor                                                                                                       $
                                     Enter address          Acct #            $   Mo. Pmt                                    Arrearage          0%
        name
        Enter creditor                                                                                                       $
                                     Enter address          Acct #            $   Mo. Pmt                                    Arrearage          0%
        name

  3.2 R e q u e s t f o r v a l u a t i o n o f s e c u r i t y , p a y m e n t o f f u l l y s e c u r e d c l a i m s , a n d m o d i f i c a t i o n o f
  undersecured claims.

          ☒ None. If “None” is checked, the rest of Part 3.2 need not be completed or reproduced.
          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.
          The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
          claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of
          secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed
          in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount; secured claims of governmental
          units should be listed in Part 3.5 below. For each listed claim, the value of the secured claim will be paid with interest at the
          applicable Chapter 13 rate unless otherwise modified below and specified in Part 7.

          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this
          plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety as
          an unsecured claim. Unless otherwise ordered by the court, the amount of the creditor’s total claim listed on the proof of claim controls over
          any contrary amounts listed in this paragraph.

          Pursuant to 11 U.S.C. §1326(a)(1), secured claims marked below as non-purchase money security interest claims will not receive pre-
          confirmation adequate protection payments unless the court orders otherwise.

       Creditor name               Estimated          Collateral          Check if non-       Value of      Amount of            Amount of     Interest       EMA payment
                                   amount of                                purchase          collateral      claims              secured        rate          through plan
                                    creditor’s                                money                          senior to             claim
                                   total claim                               security                       creditor’s
                                                                          interest claim                       claim
                                                                                                                                               Ch 13
    Creditor name              $    Amount        Collateral              ☐                   $   Value    $   Amount        $    Amount                      $   Amount
                                                                                                                                               Rate
                                                                                                                                               Ch 13
    Creditor name              $    Amount        Collateral              ☐                   $   Value    $   Amount        $    Amount                      $   Amount
                                                                                                                                               Rate
                                                                                                                                               Ch 13
    Creditor name              $    Amount        Collateral              ☐                   $   Value    $   Amount        $    Amount                      $   Amount
                                                                                                                                               Rate

 3.3   Secured claims excluded from 11 U.S.C. §506.

         ☐ None. If “None” is checked, the rest of Part 3.3 need not be completed or reproduced.
         The claims listed below were either:

            (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for
                the personal use of the debtor(s), or

            (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.



                                                                                                                                                                              2
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             These claims will be paid in full under the plan by the trustee. Unless otherwise ordered by the court, the claim amount stated on a filed
             and allowed proof of claim controls. These claims will be paid interest at the applicable Chapter 13 rate unless otherwise modified below
             and specified in Part 7.
                                 Creditor name                              Last 4 digits of           Collateral         Interest rate  EMA payment
                                                                              account #                                                   through plan
                                                                                                       2016 Nissan                  Ch 13
            American Credit Acceptance                                        Last 4 of SSN                                                          $   100.00
                                                                                                       Rogue                        Rate
                                                                                                                                    Ch 13
            Creditor name                                                     Last 4 of SSN            Collateral                                    $   Payment
                                                                                                                                    Rate

 3.4 Mortgages to be paid in full during the life of the plan

             None. If “None” is checked, the rest of Part 3.4 need not be completed or reproduced.
          If no monthly payment is provided, the creditor will be paid pro rata from funds available for this class after the payment of creditors with an Equal
          Monthly Amount.

          If no interest rate is listed in the plan or on the face of the proof of claim, the trustee will use the Chapter 13 rate in effect for this case.
          If the post-petition payments are paid through the plan, the trustee will only make principal and interest payments on the mortgage
          claims listed in Part 3.4. Pre-petition arrears will be paid as part of the principal balance of the claim and not as a separate claim.

            Creditor name          Collateral/ Street      Last 4 digits of         Principal    Monthly payment      Post-petition payments             Interest
                                       address               account #              balance                                                                rate
                                                                                                                            Paid           Paid
                                                                                                                          through         directly
                                                                                                                            plan
                                  Collateral
         Creditor name                                    Last 4 of SSN         $   Balance      $   Payment                                             Rate %
                                  address
                                  Collateral
         Creditor name                                    Last 4 of SSN         $   Balance      $   Payment                                             Rate %
                                  address

        Escrow accounts associated with the claims listed above in Part 3.4:
             None.
          Any escrow accounts associated with a claim listed in this paragraph shall be paid directly by debtors or by the trustee as a separate claim
          record pursuant to the Information listed below. If the post-petition escrow payments are paid by the trustee, the trustee will cease making
          said payments once the underlying claim has been paid in full.

                        Creditor name                           Monthly escrow payment                          Post-petition escrow payments
                                                                                                      Paid through plan                  Paid directly

         Creditor name                                     $   Payment
         Creditor name                                     $   Payment

3.5    Secured claims of governmental units.

             None. If “None” is checked, the rest of Part 3.5 need not be completed or reproduced.

          The trustee shall pay secured claims of governmental units based on a filed and allowed proof of claim, whether listed in this paragraph or
          not, in full pursuant to 11 U.S.C. §511(a), if the claim is a tax claim entitled to payment under this statute. If the tax claim does not provide
          the non-bankruptcy applicable interest rate, it will be paid at the Chapter 13 rate in effect for this case.

                                           Creditor name                                                            Estimated claim amount
            Creditor name                                                                       Amount
            Creditor name                                                                       Amount
 3.6    Surrender of collateral.

             None. If “None” is checked, the rest of Part 3.6 need not be completed or reproduced.
           The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request that
           upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under §1301 be
           terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below,
           provided a proof of claim is filed and allowed for any deficiency amount.

                                           Creditor name                                                                    Collateral
            Creditor name                                                                       Collateral
            Creditor name                                                                       Collateral

                                                                                                                                                                    3
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 3.7 Lien avoidance.

            None. If “None” is checked, the rest of Part 3.7 need not be completed or reproduced.

The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.
        The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which the
        debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or security interest
        securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The
        amount of the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The
        amount, if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C.
        § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each lien.

        Information regarding judicial lien or security                Calculation of lien avoidance                   Treatment of remaining secured
                          interest                                                                                                  claim


        Name of creditor:   Creditor name                 a.    Amount of lien:                       $   Amount        Amount of secured claim after
                                                                                                                        avoidance (line a minus line f)
        Collateral: Collateral                            b.    Amount of all other liens:                $   Amount             $ Amount
        Lien identification (such as judgment date,       c.    Value of claimed exemptions:          +$      Amount     Interest rate (if applicable):
        date of lien recording, book & page number):
        Lien ID
                                                          d.    Total of adding lines a, b, and c:        $Amount                  Ch13 Rate
                                                          e.   Value of debtor’s interest in property: - $ Amount      Equal monthly amount (“EMA”) to
                                                                                                                         be disbursed by the trustee
                                                          f. Subtract line e from line d:              $ Amount                  $ Amount
                                                          Extent of exemption impairment (check applicable
                                                          box):
                                                             Line f is equal to or greater than line a.
                                                          The entire lien is avoided. (Do not complete the next
                                                          column.)
                                                             Line f is less than line a
                                                          A portion of the lien is avoided. (Complete the next
                                                          column.)

Part 4: Treatment of Fees and Priority Claims

 4.1    General
        Trustee’s fees will be collected pursuant to 28 U.S.C. §586.

        For Domestic Support Obligation (“DSO”) noticing purposes, under 11 U.S.C. §1302(d), if the DSO claim holder listed is a governmental unit,
        list the name(s), address(es) and phone number(s) of the actual holder of a DSO as defined in 11 U.S.C. §101(14A). Pursuant to 11 U.S.C.
        §112 and Bankruptcy Rule 9037, do not disclose the name of a minor child. Identify only with the minor’s initials.

        If the debtor has a tax redemption claim, said claim must be listed in Part 7 and specific instructions for treatment of creditor must be clearly
        set out. The box in Part 1.3 indicating that nonstandard provisions are included must also be checked.

  4.2   Attorney’s fees

                Total pre-confirmation           Pre-confirmation attorney fees paid         Pre-confirmation attorney fees paid        Equal monthly amount
                    attorney fees                      directly by the debtor                     from the plan payments                       (“EMA”)
            $   3600.00                      $   0.00                                        $ 3600.00                                  $ 415.00

  4.3 Ongoing post-petition Domestic Support Obligations.

             None. If “None” is checked, the rest of Part 4.3 need not be completed or reproduced.

The debtor(s) shall make ongoing, post-petition DSO payments directly to the holder of the claim whether payments are made to the actual recipient or to
a governmental unit as assignee. The monthly payment should be listed on Schedule I and/or J.


                Debtor’s name              Ongoing DSO claim holder                                  Address                              Direct monthly
                                                    name                                                                                     payment
           Enter debtor name             Claim holder                        Address                                                $   Payment
           Enter debtor name             Claim holder                        Address                                                $   Payment

  4.4 Pre-Petition Arrears on Domestic Support Obligation claims.

             None. If “None” is checked, the rest of Part 4.4 need not be completed or reproduced.
                                                                                                                                                               4
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          Pre-petition arrearages owed to DSO holders under 11 U.S.C. §507(a)(1)(A) and §507(a)(1)(B) shall be paid by the trustee from plan
          payments on a pro rata basis from funds available after payment of creditors with an EMA unless otherwise specified in Part 7.

               Debtor’s name           DSO arrearage claim holder name                           Address                             Estimated arrearage
                                                                                                                                            claim
          Enter debtor name          Claim holder                               Address                                          $   Amount
          Enter debtor name          Claim holder                               Address                                          $   Amount
 4.5. Other Priority Claims.

             None. If “None” is checked, the rest of Part 4.5 need not be completed or reproduced.
          Other Priority claims will be paid by the trustee from plan payments on a pro rata basis as funds are available for this class of claimant
          unless otherwise specified in Part 7. Any other special provisions must be clearly set out in Part 7.

                                                 Priority creditor name                                                  Estimated priority claim
          Missouri Department of Revenue                                                                         $ 102.00
          Creditor name                                                                                          $ Amount
          Creditor name                                                                                          $ Amount

Part 5: Treatment of Nonpriority Unsecured Claims

 5.1   General

       Absent court order or other agreement with the trustee, debtor(s) shall turn over to the trustee the non-exempt portion of any federal or state
       tax refund that is a pre-petition asset unless the non-exempt equity in the tax refunds is satisfied by the treatment of non-priority unsecured
       creditors in Part 5.2. Debtor(s) may also be required to pay in tax refund(s) that are not pre-petition assets if the court determines that said
       refunds are disposable income.

       If debtor has a pending or potential lawsuit or other administrative proceeding, whether or not such cause of action is listed on Schedule A/B,
       any net, non-exempt proceeds which become liquidated shall be turned over to the trustee absent other court order or other agreement with
       the trustee.

 5.2 Nonpriority unsecured claims not separately classified.

       Choose only one treatment of non-priority unsecured creditors below:

            A dividend of 100%.

            A dividend of 0%.

            A dividend of Rate %.

            A base plan. The base is months months of payments.

            Liquidation Analysis Pot (LAP). There is non-exempt equity of $   Amount.

            Disposable Income Pot. The DIP amount is $      Amount (60 x $ Amount monthly disposable income as calculated on Form 122C-2).

 5.3   Maintenance of payments and cure of any default on nonpriority unsecured claims (such as long-term student loans).
            None. If “None” is checked, the rest of Part 5.3 need not be completed or reproduced.

         The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below
         on which the last payment is due after the final plan payment. The contractual installment payments will be disbursed either by the
         trustee or directly by the debtor, as specified below. Any claim for an arrearage amount will be paid in full as specified below and disbursed by
         the trustee pursuant to the filed and allowed proof of claim.


                    Creditor name               Last 4 digits   Estimated      Contractual      Post-petition payment          Estimated        Interest
                                                 of account       claim         monthly                                        arrearage         rate for
                                                      #          amount         payment           Paid         Paid              claim         arrears (if
                                                                                                through       directly
                                                                                                                                               applicable)
                                                                                                  plan
          Creditor name                         Last       4    $   Amount     $   Payment                                 $   0.00           Rate %
                                                SSN
          Creditor name                         Last       4    $   Amount     $   Payment                                 $   0.00           Rate %
                                                SSN
 5.4   Other separately classified nonpriority unsecured claims.

                                                                                                                                                             5
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          None. If “None” is checked, the rest of Part 5.4 need not be completed or reproduced.

       The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows

                     Creditor name                     Basis for separate classification and treatment                Amount of the       Interest rate (if
                                                                                                                         claim              applicable)
          Creditor name                        Basis                                                              $   Amount              Rate %
          Creditor name                        Basis                                                              $   Amount              Rate %

Part 6: Executory Contracts and Unexpired Leases

     List the treatment of executory contracts and unexpired leases below.
          None. If “None” is checked, the rest of Part 6 need not be completed or reproduced.
       Post-petition payments and pre-petition arrearages, whether scheduled or unscheduled, on executory contracts and unexpired leases which
       are assumed shall be paid directly by the debtor(s). If debtor(s) have pre-petition arrearages, an estimated amount should be listed below.
       Debtor(s) should also include detailed information below on how the pre-petition arrearage will be cured.


              Creditor name             Description of leased        Assume or reject         Estimated pre-          Debtor(s) will cure the pre-petition
                                        property or executory                                petition arrearage         arrearage directly as follows:
                                                                     Assume     Reject
                                              contract
          Creditor name              Description                                             $   Arrearage        Enter text
          Creditor name              Description                                             $   Arrearage        Enter text

 Part 7: Nonstandard Plan Provisions

          None. If “None” is checked, the rest of Part 7 need not be completed or reproduced.

 Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the approved form for the
 Western District of Missouri or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

 The following plan provisions will be effective only if there is a check in the box “Included” in Part 1.3.

 Enter text

Part 8: Signatures

 ☒   /s/Ryan D. Kiliany                                                  Date 9/23/2021

 Signature of
 Attorney for Debtor(s)

 ☒ Lakeisha    Quajuan Williams                                          Date 9/23/2021

 ☐ Signature                                                             Date Enter   date
 Signature(s) of Debtor(s)


 The debtor(s) must sign this document even if represented by an attorney and even if the attorney also has signed above.

 By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also certify(ies) that the
 wording and order of the provisions in this Chapter 13 plan are identical to those contained in the approved form for the Western
 District of Missouri, other than any nonstandard provisions included in Part 7.




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                                                              PLAN PROVISIONS
A.   PLAN PAYMENTS AND LENGTH OF PLAN

      i. Mailing address: All plan payments shall be payable to “Richard V. Fink, Trustee”, shall include the debtor’s name and case number and
         shall be mailed to Richard V. Fink, Trustee, P.O. Box 1839, Memphis, TN 38101-1839. Any changes to the plan payment mailing address
         will be posted on www.ndc.org and www.13network.com.

      ii. Commencement date: Plan payments shall commence within 30 days of the petition date. Once a plan is confirmed, that plan payment
          remains in effect until such time as the court confirms a subsequent amendment.

      iii. Employer wage order: If the box for voluntary wage assignment to the employer is checked and the employer address is not provided,
           the wage order shall be issued directly to the debtor. If neither box in Part 2.2 is checked, the wage order shall be issued directly to the
           debtor. Full and timely payment is the debtor’s responsibility if the voluntary wage assignment has not gone into effect or if the employer
           does not remit the full plan payment amount. The trustee also may cause an order to remit plan payments to be issued to the debtor’s
           employer pursuant to LR 3083-1.

      iv. Electronic payments: Payments can be made electronically to the trustee. There are links to the websites at www.ndc.org and
          www.13network.com.

B.   TREATMENT OF SECURED CLAIMS – MAINTENANCE OF PAYMENTS AND CURE OF DEFAULT, IF ANY

      i. Interest rate for pre-petition arrearage: All pre-petition arrearages, whether scheduled or unscheduled, shall be paid 0% interest pursuant
         to 11 U.S.C. §1322(e) unless otherwise specified in the plan or ordered by the court. If a portion of the pre-petition arrearage is entitled to
         interest, the treatment should be clearly specified in Part 7 as to the amount to be paid interest and the applicable interest rate. If the proof
         of claim is filed with no information regarding the portion to be paid interest, the trustee shall pay interest on the amount indicated in the
         plan. If no specific interest rate is provided and the plan provides for interest, the trustee shall use the Chapter 13 Rate in effect for the
         case.

      ii. Post-petition mortgage payment change: A “Notice of Mortgage Payment Change” shall be filed with the court and served on the debtor,
          the debtor’s counsel and the trustee no later than twenty-one (21) prior to any payment change and shall contain the information required
          pursuant to LR 3094-1 and Bankruptcy Rule 3002.1.

      iii. Pre-confirmation adequate protection payments on claims secured by real property: The trustee shall distribute adequate protection
           payments to real property creditors being paid from the plan payments pursuant to LR 3086-1.

      iv. No proof of claim filed or no transfer filed: The trustee shall reserve funds for the conduit portion of claims treated as long term debts
          and paid from the plan payments. If no proof of claim is filed, the trustee generally files a motion to deposit funds into the court registry at
          the conclusion of the case and will deposit the reserved funds into the court registry absent other court order. If a proof of claim is filed but
          the claimant does not accept funds from the trustee and no transfer or assignment of claim is filed, the trustee generally files a motion to
          deposit funds into the court registry at the conclusion of the case and will deposit the reserved funds into the court registry absent other
          court order.

C.   SECURED CLAIMS – ADEQUATE PROTECTION

      i. How adequate protection payments are made: Creditors listed in Part 3 that are entitled to adequate protection payments pursuant to
         11 U.S.C. §1326(a)(1) or LR 3086-1 will receive said payments from the trustee pursuant to LR 3086-1 unless otherwise ordered by the
         court. A creditor shall not receive adequate protection payments if the plan does not provide for such creditor to be treated as secured in
         Part 3. In order for such creditor to receive adequate protection payments, the debtor must amend the plan to specify creditor’s treatment
         as secured and to provide an equal monthly amount for that creditor or the creditor must file an appropriate motion for adequate protection
         with the court and obtain an order. Creditors may file objections to the adequate protection treatment provided by the plan.

      ii. Proof of claim required: Creditors listed in Part 3 that are entitled to adequate protection payments pursuant to 11 U.S.C. §1326(a)(1) or
          LR 3086-1, will receive payments from the trustee only after a proof of claim is filed with the court. Adequate protection payments shall be
          paid from the second month following the petition or conversion month through the confirmation month. The principal amount of the
          adequate protection recipient’s claim shall be reduced by the amount of the adequate protection payments remitted unless the court orders
          otherwise.

D.   SECURED CLAIMS OF GOVERNMENTAL UNITS

      i. The trustee shall pay secured claims of governmental units based on a filed and allowed proof of claim, whether listed in the plan or not, in full
         pursuant to 11 U.S.C. §511(a), if the claim is a tax claim entitled to payment under this statute. If the tax claim does not provide the non-
         bankruptcy applicable interest rate, it will be paid at the Chapter 13 rate in effect for this case.

E.   LIEN RETENTION

      The holder of a secured claim shall retain its lien until the earlier of the payment of the underlying debt determined under non-bankruptcy law
      or the discharge under 11 U.S.C. §1328. If the case is dismissed or converted without completion of the plan, the lien also shall be retained
      by such holder to the extent recognized by applicable non-bankruptcy law pursuant to 11 U.S.C. §1325(a)(5)(B).

F.   TREATMENT OF FEES AND PRIORITY CLAIMS

      i. Trustee’s fees: Trustee’s fees shall be collected pursuant to 28 U.S.C §586.



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      ii. Pre-confirmation debtor’s attorney’s fees: Attorney fees shall be paid from the plan payments pursuant to LR 2016-1 unless a different
          treatment is provided in Part 7 and the court issues a specific order regarding that proposed treatment. Pre-confirmation attorney fees are
          limited to the amounts set out in LR 2016-1(D) absent a court order allowing fees in excess of said amounts. The confirmation of the plan
          without that separate, specific court order shall not permit attorney fees to be paid contrary to the equal monthly amount specified in Part
          4.2. All attorney fees paid contrary to that paragraph or other order of the court are subject to disgorgement.

      iii. Treatment: Eleven U.S.C. §1322(a)(2) provides that all claims entitled to priority under §507(a) shall be paid in full in deferred cash
           payments, except when §1322(a)(4) applies to §507(a)(1)(B) priority claim, unless the holder of a particular claim agrees to a different
           treatment of such claim. All priority claims, regardless of the underlying basis for the claim, are similarly classified for purposes of
           distribution

          under this plan unless otherwise specified in Part 7 or other order of the court. Priority creditors shall not receive interest on their claims
          unless otherwise specified in the plan or other order of the court.

      iv. Classification: All priority creditors, including DSO’s, with a filed and allowed claim for whom an EMA is provided in Part 7, shall be
          grouped for distribution purposes with any creditor for whom an EMA is provided, including secured claims and debtor’s attorney’s fees.
          All priority unsecured creditors, including DSO’s, with a filed and allowed claim for whom an EMA is not provided, shall be grouped for
          distribution purposes with any secured creditor being paid pro rata as funds are available for that class of creditors.

G.   TREATMENT OF NONPRIORITY UNSECURED CLAIMS

      i. Base plans:

                a. Base amount: The base amount (“Base”) shall be calculated by multiplying the number of months proposed in a base case by
                   the monthly plan payment. If the monthly plan payment changes, the base shall be adjusted accordingly.

                b. Dividend to be set in Base plans: After both the governmental and non-governmental bar dates have passed and the trustee
                   has filed the Notice Allowing/Disallowing Claims and said Notice is final, the trustee will set a dividend in Base cases establishing
                   the percentage that the Base will pay to non-priority unsecured creditors at that time. The trustee will provide a notice of the set
                   dividend.

                c.   Adjustments to the dividend: Once the dividend has been set in a Base plan, the trustee may adjust the dividend as necessary
                     to ensure that the case complies with the Applicable Commitment Period if the plan runs short of the Applicable Commitment
                     Period due to a withdrawn proof of claim, a lump sum payment made by the debtor, a decrease in trustee’s fees, a decrease in
                     the conduit mortgage payment, or any other event. The dividend may also be adjusted based on a post-confirmation amended
                     plan filed by debtor. The trustee will provide notice of the adjusted dividend. If the debtor remits sufficient funds to the trustee
                     to pay off the case in full, e.g. 100% to all filed and allowed unsecured creditors; the trustee may adjust the plan to a 100% plan
                     for filed and allowed unsecured creditors without further order of the court.

                d. Payment of non-priority unsecured creditors: Filed and allowed non-priority unsecured creditors shall be paid their pro rata
                   share, as funds are available, of plan payments available after the satisfaction of administrative expenses, secured claims
                   (including interest), priority unsecured claims and after all long-term debt payments being paid through the trustee are current.

                e. Length of Base: Because the total funds paid into the plan must be sufficient to satisfy the administrative expenses, secured
                   claims and priority unsecured claims, the plan may actually run longer than the number of months needed to satisfy the Base.
                   Any adjustments made to the Base that results in the Plan running in excess of the sixty-month statutory time limit of 11 U.S.C.
                   §1322(d) may result in the trustee filing a motion to dismiss.

      ii. Pot plans:

                a. Liquidation analysis pot (LAP): The LAP amount listed in Part 5.2 should be the amount of non-exempt equity. When setting
                   the dividend to non-priority unsecured creditors, the trustee will deduct hypothetical Chapter 7 trustee fees from the LAP amount.
                   The hypothetical fees will be calculated pursuant to 11 U.S.C. §326. After deduction of said fees and any allowed priority claims,
                   any funds remaining in the LAP will be paid to allowed non-priority unsecured claimants pursuant to the set dividend. Filed and
                   allowed special or co-debtor non-priority claims will not receive more than their pro rata share of any funds available for
                   distribution to filed and allowed non-priority claimants from the LAP; if the plan provides for filed and allowed special or co-debtor
                   non-priority claims to be paid more than the other filed and allowed non-priority unsecured claimants, then the debtor shall pay
                   to the trustee the additional funds necessary to satisfy those claims.

                b. Disposable income pot (DIP):

                               1.   DIP amount: If the debtor has disposable income as defined in 11 U.S.C. §§1325(b)(2) and (b)(3) and the
                                    applicable commitment period as defined in §1325(b)(4)(A) is not less than five (5) years, the DIP amount shall
                                    be the amount of the monthly disposable income on Form 122C-2 multiplied by 60.
                               2.   Dividends in DIP plans: When setting the dividend to non-priority unsecured creditors, the trustee will deduct
                                    pre-confirmation attorney’s fees paid from plan payments and filed and allowed special or co-debtor non-priority
                                    unsecured claims. Filed and allowed priority claims are not deducted from the DIP as they already have been
                                    deducted on the Form 122C-2. Any remaining funds in the DIP will be paid to filed and allowed non-priority
                                    unsecured claims pursuant to the set dividend. If the DIP is less than or equal to the sum of the pre-confirmation
                                    debtor’s attorney’s fees being paid from the plan payments and filed and allowed special or co-debtor non-priority
                                    unsecured claims, the filed and allowed non-priority unsecured claims shall receive zero percent (0%), unless the
                                    plan runs short of the applicable commitment period. See paragraph I(ii) below.

                c.   Adjustment to dividend for both LAP plans and DIP plans: After the dividend to non-priority unsecured creditors is set, the
                     trustee will not reduce the dividend to accommodate additional or amended proofs of claim filed and allowed after the bar date
                     but may increase the dividend if a proof of claim is withdrawn or amended to a lower amount to ensure compliance with 11 U.S.C.

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                    §1325(a)(4). If the debtor believes that reduction of the dividend is required, it will be the responsibility of the debtor to determine
                    the appropriate dividend and file an amended plan to adjust the dividend. Any such amendment to the plan shall reflect the
                    dividend which previously has been set and shall provide a dividend that will comply with 11 U.S.C. §1325(a)(4) and must be at
                    least equal to any distributions already made to non-priority unsecured creditors.



H.   DISTRIBUTIONS TO CREDITORS

      i. Proof of claim: The trustee shall only distribute payments, including adequate protection payments, to creditors who have filed and allowed
         proofs of claim. If the plan provides for the debtor to make payments directly, then the failure of the creditor to file a proof of claim does
         not excuse the debtor from making the required direct payments. If the debtor is to make direct payments to a creditor, those payments
         must be
         paid pursuant to the terms of the contract regardless of whether the plan is confirmed. However, if the trustee is to pay any portion of a
         claim, then it is necessary for the creditor to file a proof of claim to receive the portion of the claim to be paid through the trustee.
         Notwithstanding the confirmation of this plan, the debtor(s) and the trustee reserve the right to challenge the allowance, validity or
         enforceability of any claim, in accordance with 11 U.S.C. §502(b) and to challenge the standing of any party to assert any such claim.

      ii. Order of distributions: The trustee shall distribute to creditors, absent other order of the court, based on the confirmed plan, filed and
          allowed proofs of claim, and the notice to allow claims and any subsequent notices to allow additional, adjusted or amended claims. See
          LR-3084-1 and LR 3085-1. The manner and order of distribution to creditors shall be determined by the trustee unless otherwise clearly
          set out in the plan as confirmed.

      iii. Creditor mailing address/assignments or transfers: The trustee shall mail payments to the address provided on the proof of claim
           unless the creditor provides another address in writing for payments or the trustee receives other official, written notice of a change of
           address. If the claim is assigned or transferred, the trustee shall continue to remit to the original creditor until an assignment or transfer of
           claim is filed with the court.

      iv. Payment of claim after lifting of stay: The trustee shall continue to make payments to any creditor with a filed and allowed claim after
          an order granting relief from the stay is entered or the stay is otherwise not in effect. The trustee shall cease making payments only if:

               a.   the claim is withdrawn by the creditor; or
               b.   an objection to the claim is filed and an order is entered directing the trustee to cease making payments on the claim; or
               c.   the claimant notifies the trustee in writing that no further payments are owed on the claim(s); or
               d.   an amended plan is filed and confirmed which specifically provides for no further payments to the claimant.

          See LR 3086-1.


      v. Trustee’s avoidance powers: If the trustee recovers funds related to a transfer, the recovered funds will be for the benefit of unsecured
         creditors, less administrative fees and costs, absent other court order.


I.   DEFINITIONS

      i. Arrearage: Any arrearages listed are the debtor’s best estimate of the amount owed as of the date of the petition. The trustee shall pay
         arrearages based on the filed and allowed proof of claim pursuant to LR 3084-1. If no arrearage amount is shown on the proof of claim,
         none shall be paid.

      ii. Applicable commitment period: If the trustee or an unsecured creditor objects to confirmation of a plan pursuant to 11 U.S.C.
          §1325(b)(1)(B), the debtor shall devote to the plan all disposable income for payment to unsecured creditors for the applicable commitment
          period from the date that the first plan payment is due, as defined in §1326(a)(1), unless the plan provides for payment in full of all filed
          and allowed unsecured claims over a shorter period. Regardless of whether the trustee objected to the confirmation of the plan pursuant
          to §1325(b)(1)(B), the trustee may file a Motion to Amend Plan pursuant to 11 U.S.C. §1329 to a Base plan, a dividend plan or a Pot plan
          if the plan as filed and confirmed will pay all administrative expenses and filed and allowed secured and priority creditors in a period of time
          that is less than the applicable commitment period. This includes plans running less time than anticipated due to the lifting of the automatic
          stay, secured or priority claims being allowed for less than the scheduled amount or not filed at all, withdrawn claims, lien avoidance or
          disallowance of claims or plans running less than the applicable commitment period due to other reasons. The trustee, the debtor or an
          allowed unsecured claimant may also file a Motion to Amend Plan pursuant to §1329 if there has been a post-confirmation change in
          circumstances that would allow the debtor to pay a dividend or an increased dividend to non-priority unsecured creditors.

      iii. Equal monthly amount (EMA): Claims with EMAs may receive more than the EMA and may receive those additional funds prior to
           payments being made to non-priority unsecured creditors.

      iv. Long term debt: A long term debt is one in which the final payment due under the terms of the contract comes due after the final Chapter
          13 plan payment comes due.

                                                           CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on September 23, 2021, a true and correct copy of the Chapter 13 Plan was served, in
addition to the parties notified by the US Bankruptcy Court’s electronic notification system, via US First Class Mail, postage prepaid,
to all parties listed on the attached mailing matrix.
                                                                                   /s/Ryan D. Kiliany
                                                                                   Ryan D. Kiliany

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